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                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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     JORGE MENDOZA,                  ) Case No. CV 19-9741-FMO (JPR)
11                                   )
                      Plaintiff,     ) REPORT AND RECOMMENDATION OF U.S.
12                                   ) MAGISTRATE JUDGE
               v.                    )
13                                   )
     UBER TECHNOLOGIES INC.,         )
14                                   )
                      Defendant.     )
15                                   )
16        This Report and Recommendation is submitted to the Honorable
17 Fernando M. Olguin, U.S. District Judge, under 28 U.S.C. § 636
18 and General Order 05-07 of the U.S. District Court for the
19 Central District of California.
20                                 PROCEEDINGS
21        On November 13, 2019, Plaintiff filed a civil-rights
22 Complaint alleging due process violations under the 14th
23 Amendment, citing 42 U.S.C. § 1983, and unfair business practices
24 under California law.      (Compl. at 1, 3-7, 16-19.)       His claims
25 arise from Defendant’s termination of his Uber driver account,
26 allegedly without notice, a hearing, or any investigation, based
27 on a rider’s complaint that he was intoxicated.           (Id. at 2-3.)
28        Defendant moved to compel arbitration and for a stay on

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 1 December 27, 2019.      Plaintiff opposed the motion on January 17,
 2 2020, and Defendant filed a Reply on February 3.
 3         For the reasons discussed below, the undersigned recommends
 4 that the District Judge grant Defendant’s motion and stay this
 5 action pending arbitration.
 6                                  BACKGROUND
 7         Uber offers a smart-phone application for drivers to connect
 8 with riders looking for transportation.         (Mot., Rosenthal Decl.
 9 ¶ 3.)       Drivers must create an account with a unique username and
10 password to use Uber’s services.          (Id. ¶ 6.)   To access requests
11 from prospective riders on the Uber app, drivers must first
12 electronically accept a service agreement with an Uber
13 subsidiary, such as Rasier, LLC.          (Id. ¶ 5; Mot., Fishman Decl.
14 ¶ 4.)       After creating an account, a driver is required to select,
15 “YES, I AGREE” to the service agreement, confirming that he has
16 reviewed and agrees to its terms.         (Rosenthal Decl. ¶ 7 & Exs. A,
17 B.)    Upon clicking “YES, I AGREE” once, he must confirm
18 acceptance a second time by clicking it again.1          (Id. ¶ 8 & Exs.
19 C, D.)
20         Plaintiff signed up to use the Uber app as a driver.
21 (Compl. ¶ 6; Rosenthal Decl. ¶ 5.)         He accepted Rasier’s November
22 10, 2014 online service agreement on December 4, 2014, and its
23 December 11, 2015 technology-services agreement on December 11,
24 2015.       (Fishman Decl. ¶ 5 & Exs. A, B.)
25
           1
26          These features distinguish the service agreement here, and
     its arbitration provision, from the one at issue in Wilson v.
27   Huuuge, Inc., 944 F.3d 1212, 1221 (9th Cir. 2019), in which the
     court refused to compel arbitration because a user of the Huuuge
28   app never had to “affirmatively assent” to any terms of use.

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 1        The December 2015 agreement contained an arbitration
 2 provision prominently highlighted on the first page, stating in
 3 relevant part:
 4        IMPORTANT: PLEASE NOTE THAT TO USE THE UBER SERVICES, YOU
 5        MUST AGREE TO THE TERMS AND CONDITIONS SET FORTH BELOW.
 6        PLEASE REVIEW THE ARBITRATION PROVISION SET FORTH BELOW
 7        CAREFULLY, AS IT WILL REQUIRE YOU TO RESOLVE DISPUTES
 8        WITH THE COMPANY ON AN INDIVIDUAL BASIS, EXCEPT AS
 9        PROVIDED IN SECTION 15.3, THROUGH FINAL AND BINDING
10        ARBITRATION    UNLESS   YOU     CHOOSE    TO   OPT   OUT   OF   THE
11        ARBITRATION PROVISION.        BY VIRTUE OF YOUR ELECTRONIC
12        EXECUTION OF THIS AGREEMENT, YOU WILL BE ACKNOWLEDGING
13        THAT YOU HAVE READ AND UNDERSTOOD ALL OF THE TERMS OF
14        THIS AGREEMENT (INCLUDING THE ARBITRATION PROVISION) AND
15        HAVE TAKEN TIME TO CONSIDER THE CONSEQUENCES OF THIS
16        IMPORTANT BUSINESS DECISION.           IF YOU DO NOT WISH TO BE
17        SUBJECT   TO   ARBITRATION,      YOU     MAY   OPT   OUT   OF   THE
18        ARBITRATION    PROVISION   BY    FOLLOWING     THE   INSTRUCTIONS
19        PROVIDED IN THE ARBITRATION PROVISION BELOW.
20 (Id., Ex. B at 1 (emphasis in original).)             Plaintiff didn’t opt
21 out of the arbitration provision (id. ¶ 6) and does not contend
22 otherwise.2
23        Section 15.3 states in large print:
24        IMPORTANT: This Arbitration Provision will require you to
25        resolve any claim that you may have against the Company
26
27        2
            The November 2014 agreement included a similar provision
     (Fishman Decl., Ex. A at 1), as to which Plaintiff also didn’t opt
28   out (id. ¶ 6).

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 1        or Uber on an individual basis, except as provided below,
 2        pursuant to the terms of the Agreement unless you choose
 3        to opt out of the Arbitration Provision.
 4 (Id., Ex. B at 16.)             Under a subheading “How This Arbitration
 5 Provision Applies,” section 15.3 requires a driver to arbitrate
 6 disputes, stating as follows:
 7         [T]his Arbitration Provision is intended to apply to the
 8         resolution of disputes that otherwise would be resolved
 9         in    a   court    of   law   or    before   any   forum   other   than
10         arbitration, with the exception of proceedings that must
11         be exhausted under applicable law before pursuing a claim
12         in a court of law or in any forum other than arbitration.
13         Except     as     it    otherwise    provides,     this    Arbitration
14         Provision requires all such disputes to be resolved only
15         by an arbitrator through final and binding arbitration on
16         an individual basis only and not by way of court or jury
17         trial . . . .
18 (Id. at 18 (emphasis in original).)                  Two paragraphs later, the
19 section states that it applies to any dispute concerning
20 “termination,” civil-rights claims, or “state statutes, if any,
21 addressing the same or similar subject matters, and all other
22 similar federal and state statutory and common law claims.”
23 (Id.)        The agreement also provides, in a so-called “delegation
24 clause,” Grice v. Uber Techs., Inc., No. CV 18-2995 PSG (GJSx),
25 2020 WL 497487, at *5 (C.D. Cal. Jan. 7, 2020), that “[a]ll such
26 matters” as the “interpretation or application” of the
27 arbitration provision, “including the enforceability,
28 revocability, or validity” of it, are to be “decided by an

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 1 Arbitrator.”     (Fishman Decl., Ex. B at 18.)
 2                                  DISCUSSION
 3        Plaintiff contends that he is exempt from the Federal
 4 Arbitration Act, and thus Defendant’s arbitration provision,
 5 because he is a “transportation worker” engaged in “interstate
 6 commerce.”     (Opp’n at 2-4.)    He argues that dropping off or
 7 picking up passengers at Los Angeles International Airport, which
 8 he did, constitutes interstate commerce.         (Id. at 3.)
 9 I.     Applicable Law
10        Congress enacted the Federal Arbitration Act in 1925 in
11 response to hostility from courts to the enforcement of
12 arbitration agreements.       Circuit City Stores, Inc. v. Adams, 532
13 U.S. 105, 111 (2001); see also AT&T Mobility LLC v. Concepcion,
14 563 U.S. 333, 344 (2011) (“The ‘principal purpose’ of the FAA is
15 to ‘ensur[e] that private arbitration agreements are enforced
16 according to their terms.’” (citation omitted and alteration in
17 original)).     The FAA compels judicial enforcement of a wide range
18 of written arbitration agreements.         Circuit City, 532 U.S. at
19 111.    It extends to all contracts “evidencing a transaction
20 involving commerce,” 9 U.S.C. § 2, but exempts “contracts of
21 employment of seamen, railroad employees, or any other class of
22 workers engaged in foreign or interstate commerce,” id. § 1.
23        Section 4 of the FAA allows “[a] party aggrieved by the
24 alleged failure, neglect, or refusal of another to arbitrate
25 under a written agreement for arbitration [to] petition any
26 United States district court . . . for an order directing that
27 such arbitration proceed in the manner provided for in such
28 agreement.”     “Because the FAA mandates that ‘district courts

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 1 shall direct the parties to proceed to arbitration on issues as
 2 to which an arbitration agreement has been signed,’” courts must
 3 determine “(1) whether a valid agreement to arbitrate exists, and
 4 if it does, (2) whether the agreement encompasses the dispute at
 5 issue.”    Grice, 2020 WL 497487, at *4 (quoting Cox v. Ocean View
 6 Hotel Corp., 533 F.3d 1114, 1119 (9th Cir. 2008) (emphasis in
 7 original)).
 8        To decide whether a valid arbitration agreement exists, a
 9 court applies “ordinary state-law principles that govern the
10 formation of contracts.”       First Options of Chi., Inc. v. Kaplan,
11 514 U.S. 938, 944 (1995).       In California, “[e]very contract
12 requires mutual assent or consent, . . . and ordinarily one who
13 signs an instrument which on its face is a contract is deemed to
14 assent to all its terms.”       Marin Storage & Trucking, Inc. v.
15 Benco Contracting & Eng’g, Inc., 89 Cal. App. 4th 1042, 1049
16 (2001) (citations omitted).
17        Doubts about the scope of arbitration must be resolved in
18 favor of it.      Grice, 2020 WL 497487, at *4 (citing Moses H. Cone
19 Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983)).
20 When an arbitration agreement exists, the FAA requires courts to
21 compel arbitration “in accordance with the terms of the
22 agreement.”     9 U.S.C. § 4; see also Concepcion, 563 U.S. at 344.
23 II.    Analysis
24        Plaintiff does not dispute that he assented to the December
25 2015 service agreement, including the arbitration provision.             He
26 claims only that the provision does not apply to him because he
27 was engaged in interstate commerce, citing § 1 of the FAA.
28        A court must “decide for itself” whether § 1’s exemption

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 1 applies before ordering arbitration.          New Prime Inc. v. Oliveira,
 2 139 S. Ct. 532, 537 (2019).        This is true even when the contract
 3 at issue contains a delegation clause, giving an arbitrator
 4 authority to decide whether the parties’ particular dispute is
 5 subject to arbitration.       Grice, 2020 WL 497487, at *5 (citing New
 6 Prime, 139 S. Ct. at 537).         A plaintiff has the burden of proving
 7 the exemption applies.       Id.
 8        Plaintiff contends he was engaged in interstate commerce
 9 because he “dropped off or picked up many passengers at Los
10 Angeles International Airport in the State of California several
11 times.”    (Opp’n at 3.)     For the § 1 exemption to apply, he must
12 demonstrate that his contract with Uber was a “contract of
13 employment” and, because he is not a “seaman” or “railroad
14 worker,” that he falls within § 1’s residual clause: “any other
15 class of workers engaged in foreign or interstate commerce.”
16 See Grice, 2020 WL 497487, at *5.           If he cannot show both,
17 arbitration should be compelled.           See id. at *9.
18        Because the § 1 exemption is narrow, it exempts from the FAA
19 “only ‘contracts of employment of transportation workers.’”             Id.
20 at *5 (quoting Circuit City, 532 U.S. at 119).           Transportation
21 workers include those “actually engaged in the movement of goods
22 in interstate commerce.”       Circuit City, 532 U.S. at 112 (citation
23 omitted) (surveying court-of-appeal decisions).             But see Singh v.
24 Uber Techs. Inc., 939 F.3d 210, 221-26 (3d Cir. 2019) (reviewing
25 cases and rejecting transport-of-goods requirement).            The most
26 obvious such example is someone who directly transports goods
27 interstate by, for instance, delivering packages from one state
28 to another.     Veliz v. Cintas Corp., No. C 03-1180 SBA., 2004 WL

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 1 2452851, at *3 (N.D. Cal. Apr. 5, 2004), modified on recons.
 2 by 2005 WL 1048699 (N.D. Cal. May 4, 2005).
 3        By his own admission, Plaintiff did not cross state lines.
 4 (See Opp’n, Mendoza Decl., Ex. A.)         His average trip distance was
 5 6.4 miles, with a duration of 18.14 minutes.          (Reply, Contreras
 6 Decl. ¶ 6.)     Wholly intrastate transportation offered by taxi
 7 companies is purely local activity, even when that transportation
 8 is part of a broader, interstate journey.          See United States v.
 9 Yellow Cab Co., 332 U.S. 218, 230-32 (1947) (using taxicabs for
10 transport to railroad stations was too tangential to interstate
11 commerce to fall within Sherman Act), overruled on other grounds
12 by Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752
13 (1984).    More recently, numerous courts have found that rides to
14 and from the airport do not constitute interstate commerce,
15 particularly when no goods are involved.         See, e.g., Grice, 2020
16 WL 497487, at *8 (finding persuasive cases holding that drivers
17 who transport people locally do not fall within § 1 exemption);
18 Scaccia v. Uber Techs., Inc., No. 3:18-cv-00418, 2019 WL 2476811,
19 at *4 (S.D. Ohio June 13, 2019) (former Uber driver not in class
20 of workers engaged in interstate commerce even though he
21 transported passengers across state lines because no transport of
22 goods), accepted by 2019 WL 4674333 (S.D. Ohio Sept. 25, 2019),
23 appeal filed, No. 19-4062 (6th Cir. 2019); Gray v. Uber, Inc.,
24 No. 8:18-cv-3093-T-30SPF, 2019 WL 1785094, at *2 (M.D. Fla. Apr.
25 10, 2019) (denying recons.) (“Plaintiff did not argue or
26 demonstrate that his position with Uber required him to transport
27 goods in interstate commerce.”), appeal dismissed, No. 19-11576-
28 F, 2019 WL 3408912 (11th Cir. June 18, 2019).
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 1        Because Plaintiff’s work as an Uber driver did not involve
 2 crossing state lines or transporting goods, he does not fit
 3 within the § 1 exemption for a transportation worker who is
 4 “engaged in . . . interstate commerce.”         Cf. Singh, 939 F.3d at
 5 226 (remanding for determination of whether Uber driver engaged
 6 in interstate commerce when his submissions showed that he
 7 “frequently transported passengers on highway across state
 8 lines”).3    Thus, his resistance to arbitration fails regardless
 9 of whether his agreement with Uber was a “contract of
10 employment.”     See Grice, 2020 WL 497487, at *9.        And because the
11 arbitration provision here contains a delegation clause, which
12 Plaintiff has not specifically challenged, it is up to the
13 arbitrator to decide whether his particular dispute falls within
14 the scope of the provision.       Rent-A-Center, West, Inc. v.
15 Jackson, 561 U.S. 63, 72-73 (2010).
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23          Similarly, Uber Techs., Inc. v. Patel, No. CPF-17-515894
     (S.F. Super. Ct. Nov. 26, 2019), cited by Plaintiff (Opp’n at 3)
24   and discussed in a recent news article, see Joel Rosenblatt, Uber
     Drivers Who Make Airport Runs Get a Boost in Pay Fight, Bloomberg
25   Law, Daily Labor Report, Nov. 26, 2019, does not support
26   Plaintiff’s position. There, the court simply granted a discovery
     request “to develop facts relevant to the extent to which Uber
27   drivers engage in interstate commerce”; it did not decide the
     issue. Order Granting Labor Comm’r’s Disc. Req., Patel, No. CPF-
28   17-515894.

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 1                               RECOMMENDATION
 2       It therefore is recommended that the District Judge accept
 3 this Report and Recommendation, grant Defendant’s Motion to
 4 Compel Arbitration and Stay Action, and order the case stayed
 5 pending arbitration.
 6 DATED: March 25,2020
                                      JEAN ROSENBLUTH
 7                                    U.S. MAGISTRATE JUDGE
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